                     Case 2:22-mc-00069-RSL Document 1-8 Filed 08/12/22 Page 1 of 11
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                             Western District of Texas

     League of United Latin American Citizens, et al.                         )
                               Plaintiff                                      )
                                  v.                                          )        Civil Action No.         3:21-cv-259-DCG-JES-JVB
                        Greg Abbott, et al.                                   )
                                                                              )        (If the action is pending in another district, state where:
                              Defendant                                       )                                                                )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To: Dave's Redistricting, LLC
        5063 Harold Place NE, Seattle, WA 98105
    ✔ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
    u
documents, electronically stored information, or objects, and permit their inspection, copying, testing, or sampling of the
material: See Attachment A



 Place: U.S. Attorney’s Office, Western District of Washington                          Date and Time:
           700 Stewart Street, Suite 5220                                                                     08/15/2022 5:00 pm
           Seattle, WA 98101-1271

     u Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:




        The provisions of Fed. R. Civ. P. 45(c), relating to your protection as a person subject to a subpoena, and Rule
45 (d) and (e), relating to your duty to respond to this subpoena and the potential consequences of not doing so, are
attached.

Date:         07/14/2022

                                  CLERK OF COURT
                                                                                            OR
                                                                                                                  /s/ Daniel J. Freeman
                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail, and telephone number of the attorney representing (name of party)     the United States
of America                                                              , who issues or requests this subpoena, are:
Daniel J. Freeman, U.S. Department of Justice, Civil Rights Division, Voting Section, 950 Pennsylvania Ave. NW,
4CON 8th Floor, Washington, D.C. 20530 Email: daniel.freeman@usdoj.gov Phone: 202-305-5451
                     Case 2:22-mc-00069-RSL Document 1-8 Filed 08/12/22 Page 2 of 11
AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action (Page 2)

Civil Action No. 3:21-cv-259-DCG-JES-JVB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          This subpoena for (name of individual and title, if any)
was received by me on (date)                                   .

          u I served the subpoena by delivering a copy to the named person as follows:


                                                                                               on (date)                               ; or

          u I returned the subpoena unexecuted because:
                                                                                                                                                     .

          Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
          tendered to the witness fees for one day’s attendance, and the mileage allowed by law, in the amount of
          $                                       .

My fees are $                                     for travel and $                              for services, for a total of $                0.00   .


          I declare under penalty of perjury that this information is true.


Date:
                                                                                                   Server’s signature



                                                                                                 Printed name and title




                                                                                                    Server’s address

Additional information regarding attempted service, etc:
                      Case 2:22-mc-00069-RSL Document 1-8 Filed 08/12/22 Page 3 of 11
 AO 88B (Rev. 06/09) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)




                                Federal Rule of Civil Procedure 45 (c), (d), and (e) (Effective 12/1/07)
(c) Protecting a Person Subject to a Subpoena.                                    (d) Duties in Responding to a Subpoena.
  (1) Avoiding Undue Burden or Expense; Sanctions. A party or                      (1) Producing Documents or Electronically Stored Information.
attorney responsible for issuing and serving a subpoena must take                 These procedures apply to producing documents or electronically
reasonable steps to avoid imposing undue burden or expense on a                   stored information:
person subject to the subpoena. The issuing court must enforce this                  (A) Documents. A person responding to a subpoena to produce
duty and impose an appropriate sanction — which may include lost                  documents must produce them as they are kept in the ordinary
earnings and reasonable attorney’s fees — on a party or attorney                  course of business or must organize and label them to correspond to
who fails to comply.                                                              the categories in the demand.
   (2) Command to Produce Materials or Permit Inspection.                            (B) Form for Producing Electronically Stored Information Not
   (A) Appearance Not Required. A person commanded to produce                     Specified. If a subpoena does not specify a form for producing
documents, electronically stored information, or tangible things, or              electronically stored information, the person responding must
to permit the inspection of premises, need not appear in person at the            produce it in a form or forms in which it is ordinarily maintained or
place of production or inspection unless also commanded to appear                 in a reasonably usable form or forms.
for a deposition, hearing, or trial.                                                 (C) Electronically Stored Information Produced in Only One
   (B) Objections. A person commanded to produce documents or                     Form. The person responding need not produce the same
tangible things or to permit inspection may serve on the party or                 electronically stored information in more than one form.
attorney designated in the subpoena a written objection to                           (D) Inaccessible Electronically Stored Information. The person
inspecting, copying, testing or sampling any or all of the materials or           responding need not provide discovery of electronically stored
to inspecting the premises — or to producing electronically stored                information from sources that the person identifies as not reasonably
information in the form or forms requested. The objection must be                 accessible because of undue burden or cost. On motion to compel
served before the earlier of the time specified for compliance or 14              discovery or for a protective order, the person responding must show
days after the subpoena is served. If an objection is made, the                   that the information is not reasonably accessible because of undue
following rules apply:                                                            burden or cost. If that showing is made, the court may nonetheless
     (i) At any time, on notice to the commanded person, the serving              order discovery from such sources if the requesting party shows
party may move the issuing court for an order compelling production               good cause, considering the limitations of Rule 26(b)(2)(C). The
or inspection.                                                                    court may specify conditions for the discovery.
     (ii) These acts may be required only as directed in the order, and            (2) Claiming Privilege or Protection.
the order must protect a person who is neither a party nor a party’s               (A) Information Withheld. A person withholding subpoenaed
officer from significant expense resulting from compliance.                       information under a claim that it is privileged or subject to
  (3) Quashing or Modifying a Subpoena.                                           protection as trial-preparation material must:
   (A) When Required. On timely motion, the issuing court must                       (i) expressly make the claim; and
quash or modify a subpoena that:                                                     (ii) describe the nature of the withheld documents,
     (i) fails to allow a reasonable time to comply;                              communications, or tangible things in a manner that, without
     (ii) requires a person who is neither a party nor a party’s officer          revealing information itself privileged or protected, will enable the
to travel more than 100 miles from where that person resides, is                  parties to assess the claim.
employed, or regularly transacts business in person — except that,                 (B) Information Produced. If information produced in response to a
subject to Rule 45(c)(3)(B)(iii), the person may be commanded to                  subpoena is subject to a claim of privilege or of protection as trial-
attend a trial by traveling from any such place within the state where            preparation material, the person making the claim may notify any
the trial is held;                                                                party that received the information of the claim and the basis for it.
     (iii) requires disclosure of privileged or other protected matter, if        After being notified, a party must promptly return, sequester, or
no exception or waiver applies; or                                                destroy the specified information and any copies it has; must not use
     (iv) subjects a person to undue burden.                                      or disclose the information until the claim is resolved; must take
   (B) When Permitted. To protect a person subject to or affected by              reasonable steps to retrieve the information if the party disclosed it
a subpoena, the issuing court may, on motion, quash or modify the                 before being notified; and may promptly present the information to
subpoena if it requires:                                                          the court under seal for a determination of the claim. The person
     (i) disclosing a trade secret or other confidential research,                who produced the information must preserve the information until
development, or commercial information;                                           the claim is resolved.
     (ii) disclosing an unretained expert’s opinion or information that
does not describe specific occurrences in dispute and results from                (e) Contempt. The issuing court may hold in contempt a person
the expert’s study that was not requested by a party; or                          who, having been served, fails without adequate excuse to obey the
     (iii) a person who is neither a party nor a party’s officer to incur         subpoena. A nonparty’s failure to obey must be excused if the
substantial expense to travel more than 100 miles to attend trial.                subpoena purports to require the nonparty to attend or produce at a
   (C) Specifying Conditions as an Alternative. In the circumstances              place outside the limits of Rule 45(c)(3)(A)(ii).
described in Rule 45(c)(3)(B), the court may, instead of quashing or
modifying a subpoena, order appearance or production under
specified conditions if the serving party:
     (i) shows a substantial need for the testimony or material that
cannot be otherwise met without undue hardship; and
     (ii) ensures that the subpoenaed person will be reasonably
compensated.
        Case 2:22-mc-00069-RSL Document 1-8 Filed 08/12/22 Page 4 of 11




                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION


  LEAGUE OF UNITED LATIN AMERICAN
  CITIZENS (LULAC), et al.,

                         Plaintiffs,
                                                            Civil Action No. 3:21-cv-259
                 v.                                         (DCG-JES-JVB)
                                                            (consolidated cases)
  GREG ABBOTT, et al.,

                         Defendants.


            ATTACHMENT A – SUBPOENA FOR DOCUMENTS AND RECORDS

       Pursuant to Rule 45 of the Federal Rules of Civil Procedure, you are commanded to

produce to the United States of America the documents and electronically stored information

described below in your possession, custody, or control.

                            DEFINITIONS AND INSTRUCTIONS

       1.      “Document” is defined to be synonymous in meaning and scope as the term

“document” is used under Rule 34 of the Federal Rules of Civil Procedure and as the phrase

“writings and recordings” is defined in Rule 1001 of the Federal Rules of Evidence and

includes, but is not limited to, any computer files, memoranda, notes, letters, emails, printouts,

instant messages, ephemeral messages, social media messages, text messages, or databases, and

any handwritten, typewritten, printed, electronically-recorded, taped, graphic, machine-readable,

or other material, of whatever nature and in whatever form, including all non-identical copies

and drafts thereof, and all copies bearing any notation or mark not found on the original.

       2.      “Electronically Stored Information” or “ESI” is defined to be synonymous in

meaning and scope as the term “electronically stored information” is used under Rule 34 of the


                                                 1
        Case 2:22-mc-00069-RSL Document 1-8 Filed 08/12/22 Page 5 of 11




Federal Rules of Civil Procedure and refers to any type of information that is created, used, and

stored in digital form and accessible by digital means. ESI includes but is not limited to all data,

digital documents, or other information contained on any media type, whether hard disk drive,

cloud storage, or any other storage technology.

       3.      “Adam Perry Kincaid” is the President and Executive Director of the National

Republican Redistricting Trust. He is associated with at least the following email addresses:

adam@fairlines.org; adam@thenrrt.org; akincaid@gop.com; akincaid@rga.org;

akincaid@nrcc.org; and kincaidadam@nrcc.org. Mr. Kincaid may also be associated with the

following email addresses: adamkincaid@msn.com; akinca4@verizon.net; aakincaid@aol.com;

adampkincaid@gmail.com; adam.p.kincaid@gmail.com; apkincaid@gmail.com;

adam@gagop.org; apk214@aol.com; and adamkincaid99@yahoo.com. Further, he is associated

with the Dave’s Redistricting App account that generated the following links:

https://davesredistricting.org/join/1fc758d7-8826-466e-90e0-a9a8285229dc;

https://davesredistricting.org/join/604c8f53-67bf-4e15-976c-6bd02c86f2d4; and

https://davesredistricting.org/join/23e71fbe-75af-4c13-9e0a-6113d9a0482c.

       4.      “Adam Foltz” is an employee of the Texas Legislative Council. He is associated

with the email address adam.foltz_hc@legis.texas.gov. He may also be associated with the

following email addresses: foltz@hotmail.com; adam.foltz@legis.wisconsin.gov;

adamfoltz@gmail.com; and afoltz@gmail.com.

       5.      “Jacey Jetton” is a Member of the Texas House of Representatives. He is

associated with the email address jacey.jetton@house.texas.gov. He may also be associated with

the following email addresses: jaceyjetton@hotmail.com; jjetton@aol.com; jjetton@jacjam.com;

jjetton@texasgop.org; markhoppu_s@yahoo.com; and markhoppu_s@address.com.




                                                  2
        Case 2:22-mc-00069-RSL Document 1-8 Filed 08/12/22 Page 6 of 11




       6.       “Related to” means referring to, regarding, consisting of, concerning, pertaining

to, reflecting, evidencing, describing, constituting, mentioning, or being in any way logically or

factually connected with the matter discussed, including any connection, direct or indirect,

whatsoever with the requested topic.

       7.      In responding to these requests, please produce all responsive documents and ESI

in your possession, custody, or control. This means that you must produce all responsive

documents and ESI within your actual possession, custody, or control, as well as such documents

and ESI which you have the legal right to obtain on demand or the practical ability to obtain

from a third party, including but not limited to any and all documents and ESI that you and your

counsel or other persons or entities acting or purporting to act on your behalf have actually

reviewed.

       8.      All references in these requests to an individual person include any and all past or

present employees, staff, interns, representatives, designees, attorneys, advisors, consultants,

contractors, agents, predecessors in office or position, and all other persons or entities acting or

purporting to act on the individual person’s behalf or subject to the control of such a person.

       9.      In construing these requests, apply the broadest construction, so as to produce the

most comprehensive response. Construe the terms “and” and “or” either disjunctively or

conjunctively as necessary to bring within the scope of the request all responses that might

otherwise be construed to be outside that scope. Words used in the singular include the plural.

       10.     Words or terms used herein have the same intent and meaning regardless of

whether the words or terms are depicted in lowercase or uppercase letters.

       11.     Documents should be produced in their entirety, without abbreviation, redaction,

or expurgation; file folders with tabs or labels identifying documents responsive to these requests




                                                  3
        Case 2:22-mc-00069-RSL Document 1-8 Filed 08/12/22 Page 7 of 11




should be produced intact with the documents; and documents attached to each other should not

be separated.

       12.      No portion of a request may be left unanswered because an objection is raised to

another part of that request. If you object to any portion of a document request, you must state

with specificity the grounds of the objection. Any ground not stated will be waived.

       13.      For any document or ESI withheld from production on a claim of privilege or

work product protection, provide a written privilege log identifying each document and ESI

individually and containing all information required by Rule 45(e)(2)(A) of the Federal Rules of

Civil Procedure, including a description of the basis of the claimed privilege and all information

necessary for the United States to assess the claim of privilege.

       14.      If you contend that it would be unduly burdensome to obtain and provide all of

the documents and ESI called for in response to any request or subsection thereof, then in

response to the appropriate request: (a) produce all such documents and ESI as are available

without undertaking what you contend to be an unduly burdensome request; (b) describe with

particularity the efforts made by you or on your behalf to produce such documents and ESI; and

(c) state with particularity the grounds upon which you contend that additional efforts to produce

such documents and ESI would be unduly burdensome.

       15.      If any requested document or ESI or other potentially relevant document or ESI is

subject to destruction under any document retention or destruction program, the documents and

ESI should be exempted from any scheduled destruction and should not be destroyed until the

conclusion of this lawsuit or unless otherwise permitted by court order.

       16.      In the event that a responsive document or ESI has been destroyed or has passed

out of your possession, custody, or control, please provide the following information with respect




                                                 4
        Case 2:22-mc-00069-RSL Document 1-8 Filed 08/12/22 Page 8 of 11




to each such document: its title, date, author(s), sender(s), recipient(s), subject matter, the

circumstances under which it has become unavailable, and, if known, its current location and

custodian.

       17.     These requests are continuing in nature. Your response must be supplemented

and any additional responsive material disclosed if responsive material becomes available after

you serve your response. You must also amend your responses to these requests if you learn that

an answer is in some material respect incomplete or incorrect.

       18.     Unless otherwise specified, all requests concern the period of time from January

1, 2019, to the present.

                                    DOCUMENT REQUESTS

       1.      All documents and data associated with Adam Perry Kincaid, including but not

limited to:

               a. All maps and draft maps of the Texas delegation to the U.S. House of

                   Representatives and the Texas House of Representatives drawn by Mr.

                   Kincaid;

               b. All maps and draft maps of the Texas delegation to the U.S. House of

                   Representatives and the Texas House of Representatives uploaded by Mr.

                   Kincaid;

               c. All maps and draft maps of the Texas delegation to the U.S. House of

                   Representatives and the Texas House of Representatives viewed by Mr.

                   Kincaid;




                                                   5
Case 2:22-mc-00069-RSL Document 1-8 Filed 08/12/22 Page 9 of 11




     d. All data relating to users and other individuals who viewed the maps and draft

        maps of the Texas delegation to the U.S. House of Representatives and the

        Texas House of Representatives drawn or uploaded by Mr. Kincaid;

     e. All information and data related to analysis of maps drawn, uploaded, or

        viewed by Mr. Kincaid, including but not limited to racial data, other

        demographic data, election data, proportionality data, competitiveness data,

        minority representation data, and compactness data;

     f. All records, including metadata, related to the use of Dave’s Redistricting App

        by Mr. Kincaid; and

     g. Any other information concerning this user.

2.   All documents and data associated with Adam Foltz, including but not limited to:

     a. All maps and draft maps of the Texas delegation to the U.S. House of

        Representatives and the Texas House of Representatives drawn by Mr. Foltz;

     b. All maps and draft maps of the Texas delegation to the U.S. House of

        Representatives and the Texas House of Representatives uploaded by Mr.

        Foltz;

     c. All maps and draft maps of the Texas delegation to the U.S. House of

        Representatives and the Texas House of Representatives viewed by Mr. Foltz;

     d. All data relating to users and other individuals who viewed the maps and draft

        maps of the Texas delegation to the U.S. House of Representatives and the

        Texas House of Representatives drawn or uploaded by Mr. Foltz;

     e. All information and data related to analysis of maps drawn, uploaded, or

        viewed by Mr. Foltz, including but not limited to racial data, other




                                      6
        Case 2:22-mc-00069-RSL Document 1-8 Filed 08/12/22 Page 10 of 11




                     demographic data, election data, proportionality data, competitiveness data,

                     minority representation data, and compactness data;

                  f. All records, including metadata, related to the use of Dave’s Redistricting App

                     by Mr. Foltz; and

                  g. Any other information concerning this user.

       3.         All documents and data associated with Representative Jacey Jetton, including but

not limited to:

                  a. All maps and draft maps of the Texas delegation to the U.S. House of

                     Representatives and the Texas House of Representatives drawn by

                     Representative Jetton;

                  b. All maps and draft maps of the Texas delegation to the U.S. House of

                     Representatives and the Texas House of Representatives uploaded by

                     Representative Jetton;

                  c. All maps and draft maps of the Texas delegation to the U.S. House of

                     Representatives and the Texas House of Representatives viewed by

                     Representative Jetton;

                  d. All data relating to users and other individuals who viewed the maps and draft

                     maps of the Texas delegation to the U.S. House of Representatives and the

                     Texas House of Representatives drawn or uploaded by Representative Jetton;

                  e. All information and data related to analysis of maps drawn, uploaded, or

                     viewed by Representative Jetton, including but not limited to racial data, other

                     demographic data, election data, proportionality data, competitiveness data,

                     minority representation data, and compactness data;




                                                  7
Case 2:22-mc-00069-RSL Document 1-8 Filed 08/12/22 Page 11 of 11




     f. All records, including metadata, related to the use of Dave’s Redistricting App

        by Representative Jetton; and

     g. Any other information concerning this user.




                                     8
